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                     LTNITED STATES BANKRUPTCY COURT
                       NORTI{E,RN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:                                                CASE NUMBERS

 BU YONG KIM,                                          BANKRUPTCY CASE
                                                       t9-62423-LRC
       Debtor.


 WILLIAM     J.   LAYNG, JR.                           ADV. PRO. NO.
 Chapter 7 Trustee for the Estate   of                 20-6024-LRC
 Bu Yong Kim,

       Plaintiff,

 VS.
                                                       IN PROCEEDINGS
 I.INITED WHOLESALE MORTGAGE                           UNDER CFIAPTER OF
 and NATIONSTAR MORTGAGE, LLC                          THE BANKRUPTCY
  dlblaMR. COOPER,                                     CODE

        Defendants



 T) EF'ENDANTS'        IPPI,EMI|INT AL BRIEF IN SI]PPORT OF'MOTI ON TO

                                         DISMISS

       COMES NOW United Wholesale Mortgage ("United") and Nationstar

Mortgage,LLC dlbla Mr. Cooper ("Nationstar"), collectively referred to herein    as
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"Defendants" and do hereby file this their Supplemental Brief in Support of the

Motion to Dismiss.

                             ARGt]MENT              CITATION OF              ORITY

        Movants incorporate their argument as set forth in the initial Motion, their

Reply    Briei   and do set forth this supplemental argument so as to address the specific

issue raised by the Court as it relates to the decision in In re Lindstrom, 621B.R. 42.


         The matter before this Court is the Trustee's claim that it came in to title to

the subject property as a bona fide purchaser, free of the claims asserted in the

Security Deed 11 U.S.C. $54a(a)(3). The basis for the Trustee's argument is that

the Security Deed was not executed in compliance with the requirements of

O.C.G.A. 544-14-61 which provides: In order to admit deeds to secure debt or bills

of sale to secure debt to record, they shall be signed by the maker, attested by an

fficer   as   provided in Code Section 44-2-15, and attested by one other witness.


         A. The Security Deed Satisfies   the Requirements of O.C.G.A. 544-14-61.


         A review of the jurat on the face of the Security Deed demonstrates that the

requirements of O.C.G.A. 544-14-61have been met. The Borrowers executed the




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instrumentwhich recites that it was "signed sealed and delivered in the presence of:"

followed by the witness blocks, one official, and one unofficial witness

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               Based upon the above langurage, the deed was executed in recordable form

 and the Trustee's claims fail.




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      The Trustee argues that "the Security Deed expressly defines the act of the

official witness as an acknowledgment, by saying the "Space Below this Line for

Acknowledgment". However, the language of the document does not support this

conclusion. The words used in the pre-preprinted portion of the form do not "define"

the language which follows as an "acknowledgment" nor is         it   referential to the

previous version of the Georgia recording statute which permitted the recording      of

a deed by "acknowledgement". The signature block itself does not include the term

"acknowledgement". The language of the signature block could not have been

intended as an "acknowledgment" as contemplated by the former version of

O.C.G.A. 544-14-33. This is true for two reasons: First, to effectuate               an


"acknowledgement" under the prior Georgia law, there would have had to be a

second unofficial witness. The form provides no signature line for such a witness'

 Second, the language of the jurat does not indicate that the witnesses are appearing

to verif, a     previously executed document; which         is the essence of         an


 acknowledgment.    By contrast the text appearing before the witness signatures

 clearly reads "signed sealed delivered in the presence of:" The Trustee places form

 entirely before substance where he grabs an out of context word which so clearly

 contrasts with the actualrecital of the witnesses. As discussed below, the law does

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not mandate "perfection" in all forms and the meaning of the jurat is apparent on its

face as an attestation.


       B. Assuming Arguendo the Jurat constitutes an Aclcnowledgment, O.C.G.A.

544-2-18 Applies.

       Even if the Court were to determine that the Security Deed was not executed

in the form required by O.C.G.A. $44-14-33 as a resulted of being a prohibited

"acknowledgment", the savings provisions of O.C.G.A. 544-2-18 apply to defeat a

claim by the Trustee that it took "without notice" of the instrument.


       The United States District Court in Pingora Loan Servicing, LLC v. Scarver

621 B.R. 42 (2020) (1" Re Lindstrom), recently addressed the issue of whether

O.C.G.A. 544-2-18 applied where there was an improper acknowledgement. In

considering the application of the statute, the Court first determined the question   of

whether the statute applied. In brief, the trustee asserted that the savings statute did

not apply to deeds executed by "acknowledgement" given that the recording statute

 had been previously amended to remove witnesses by "acknowledgemenf'. Both the

 Bankruptcy Judge and the District Court agreed that the statute did apply, concluding

 "The Remedial Statute thus allowed a party to correct an error in either attestation

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or acknowledgment." Based upon this conclusion, in the event the Court concludes

that the jurat in the present action constitutes a prohibited "acknowledgement", it is

subject to saving under the Remedial Statute.


      The Court next examined prong two of the analysis to determine whether the

Affidavit satisfies the requirement that there be an "affidavit of a subscribing witness

. . . testiffing to the execution of the deed and its attestation according to   law". The

District Court's analysis of the definition of "subscribing witness" concludes that a

subscribing witness is the same as an attesting witness, meaning the subscribing

witness must witness the actual execution of a paper, and subscribe one's name as a

witness to that fact". By way of illustration, the District Court refers to the decision

in In re Kim (571 F.3d at 1344). In that case, the Affidavit recited: In closing the

above loan, but     prior to the execution of the Security Deed and "Waiver of

Borrower's Rights" by the Borrower(s),          I   reviewed with and explained to the

Borrower(s) the terms and provisions thereof           . . . After said review with and
explanation to Borrower(s), Borrower(s) executed the Security Deed and "Waiver

 of Borrower's Rights". Although the affidavit in Lindstrom was substantially

 similar to that in In re Kim, the Bankruptcy Court in Lindstrom distinguished the

 affidavit, emphasizing that the language included the phrase; "I or a representative
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of the firm reviewed with and explained to the Borrower(s)" (emphasis added).

Based on this distinction, the Bankruptcy Court concluded that this language

provided "enough space that someone else from the firm could have explained the

Security Deed and then witnessed the execution". The District Court rejected this

interpretation, emph asizing in large part the guidance provided by the 1lth Circuit,

concludin gthatthe Remedial Statute's reference to "substantial compliance" was all

that was necessary.


      Applied to the facts in this case, it is clear that the Waiver of Borrower's

Rights, which is incorporated in to the Security Deed as a Rider, "saves" the Security

Deed for purposes of constructive notice, to the extent such is necessary at all.   All

three pages    of the Waiver of        Borrowers Rights document are recorded

contemporaneously with the Security Deed, recite vinually identical language to that

found in In re Kim,and is plainly signed by Hyeon Kim, who was the official witness

to the execution of the Security Deed. (Attached hereto as Addendum A.)


                                       Conclusion


       While the Trustee advocates that he is an agent of "perfection", this is not the

legal standard. The law, including the recent decision in Lindstrom does not

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mandate "perfection" and strongly recognizes the legal significance of having a

remedial statute and for substantial compliance to be sufficient to protect the interest

of a secured lender. While the facts of the security instrument in this case do not

necessitate remedial measures, to the extent the Trustee contends otherwise, the

remedial statute plainly applies.


           Based upon the aforesaid reasons, the Defendants respectfully pray that the

Court granttheir Motion and dismiss the action.

           Respectfully submitted this 7th day of December,Z}Z}.

                                                 WSTSSMAN PC



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